                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

   SHARON GUTHRIE,

                                 Plaintiff,
                                                    No. 1:22-cv-00162-DCLC-SKL
   v.

   THE UNITED STATES OF AMERICA,

                                 Defendant.


               PLAINTIFF’S REPLY IN SUPPORT OF HER MOTION
          TO AMEND AD DAMNUM CLAUSE PURSUANT TO 28 U.S.C. § 2675(b)


         COMES NOW Plaintiff, by and through counsel, and files this Reply to respond to three

  of the government’s points in opposition.

         1.      In opposition to Plaintiff’s Motion, the government argues that the deadline for

  amendments ran on October 3, 2023. Gov’t Brief (doc. 36) at 2. As the government sees it,

  amending the ad damnum clause at this stage of the proceeding will be “undu[ly] prejudic[ial]” to

  the government because it “has no ability to retain medical experts to challenge these claims.”

         Mrs. Guthrie was not the only one on notice prior to October 3, 2023 that there were

  complications from her first knee surgery. The government, too, knew of the issue and joined the

  motion to revise the scheduling order on those grounds. See Joint Motion (doc. 23).

         The parties not only worked collaboratively to schedule depositions that would

  accommodate the second surgery, see generally, Motion for Extension of Time (doc. 25), but on

  November 2, 2023, Mrs. Guthrie supplemented her Rule 26(a)(1) disclosures to include new

  medical bills. On that same day, consistent with the Amended Scheduling Order, she disclosed Dr.



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  Mark Freeman, M.D. as an expert witness (treating physician). Mrs. Guthrie supplemented her

  Rule 26(a)(1) disclosures again on March 10, 2024, to include the bills associated with the second

  knee surgery. As if that was not notice enough, undersigned counsel voluntarily produced Mrs.

  Guthrie for a second deposition following the second knee surgery to allow counsel for the

  government an opportunity to cross examine Mrs. Guthrie regarding her treatment.

         The government can show no prejudice because it has been on notice, since at least

  November 2, 2023, that Mrs. Guthrie intended to rely on the expert testimony of Dr. Mark

  Freeman, M.D., the surgeon who performed the second knee surgery. The parties have yet to

  depose (for use at trial) the treating physicians. The government will be free to cross examine Dr.

  Freeman when he is deposed.

         In short, the government wants its cake and eat it too: “Plaintiff had sufficient information

  to request this increase in the ad damnum before the amendment deadline expired” but “[a]t this

  stage of litigation when discovery is closed…Defendant has no ability to retain medical experts to

  challenge these claims.” Gov’t Brief at 3. That knife cuts both ways. If Plaintiff had sufficient

  information to request an increase in the ad damnum before, then the government also had

  sufficient information to retain medical experts to challenge these claims.

         2. The government argues that the ad damnum should not be increased because “to date,

  Plaintiff has developed no medical proof, including any medical proof relating the injuries to her

  right knee or either surgical procedure performed on her right knee to the December 15, 2020

  collision at issue in this case.” Gov’t Brief at 3-4. In doing so, the government confuses the notice

  requirement of 28 U.S.C. § 2675(b) with the evidentiary burden of proof Plaintiff must carry at

  trial. Plaintiff did not file a “Motion to Stipulate That the First Knee Surgery Was Medically

  Necessary as a Result of the Accident.” To the extent, evidentiary proof, i.e. qualified expert



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  testimony is required to increase an ad damnum clause, Mrs. Guthrie asks that the Court set a

  hearing at which she will have an opportunity to do so.

         3. The government implies that Mrs. Guthrie should have anticipated that a worst-case

  scenario prognosis would have included: (a) that the first knee surgery would fail, (2) that she

  would suffer an “atypical infection,” and (3) that Dr. Freeman would facture her tibia during

  surgery. Gov’t Brief at 4-6. The government finds support for its position in a Memorandum and

  Order entered by Judge R. Allan Edgar in Norrell v. United States, Nos. 1:00-cv-303, 1:02-cv-013

  on Aug. 1, 2002.

         In his Memorandum and Order, Judge Edgar found that “[t]he rationale in Allgeier is

  consistent with the worst-case prognosis standard [adopted by other Circuits].” Norrell v. United

  States, 2002 U.S. Dist. LEXIS 26337, at *13. Judge Edgar went on to concede, however, that “the

  Sixth Circuit has not yet explicitly adopted the worst-case prognosis test.” 2002 U.S. Dist. LEXIS

  26337, at *20. The government offers no citation to—nor has undersigned counsel be able to

  locate—a subsequent Sixth Circuit case explicitly adopting that test.

         Instead, at least one district court disagrees with Judge Edgar that the standards are the

  same. A few years ago, in Bravo-Garcia v. United States, No. 13-2185 (NLH/JS), 2015 U.S. Dist.

  LEXIS 4727, at *12 (D.N.J. Jan. 15, 2015), that court canvassed the cases and identified three

  different approaches to amendments under § 2675(b): the worst-case prognosis test adopted by the

  Fifth and First Circuits; the reasonably discoverable test adopted by the Second, Fourth, Sixth and

  Eighth Circuits, and the change in expectations test adopted by the Eleventh Circuit. Id. (citations

  omitted).




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         Even if, as Judge Edgar suggested, Allgeier is synonymous with the worst-case prognosis

  test, the latter must necessarily include the former’s requirement of reasonableness. Allgeier v.

  United States, 909 F.2d 869, 879 (6th Cir. 1990) (“the significant worsening of her condition well

  over a year later, the need for the second operation and extensive additional treatment were not

  reasonably foreseeable at the time the administrative claim was filed.”).

         In fact, other district courts continue to rely on Allgeier in deciding to allow an increase in

  ad damnum. See e.g. Castelluccio v. United States, No. 1:17-CV-190 (TJM/DJS), 2019 U.S. Dist.

  LEXIS 225839, at *15 (N.D.N.Y. Dec. 20, 2019) (citing Allgeier and finding complications of

  pre-existing medical condition “in the years following the filing of [plaintiff’s] administrative

  claim constitute a sufficient basis under § 2675(b) to grant the amendment of the ad damnum

  clause”); Bravo-Garcia, 2015 U.S. Dist. LEXIS 4727, at *27 (citing Allgeier and finding plaintiff

  “could not have reasonably discovered before his Amended Notice was filed that his psychiatric

  symptoms were causally related to his closed head injury or that he would be diagnosed in January

  2013”); Creech v. United States, C.A. No. 06-279, 2007 U.S. Dist. LEXIS 19289, 2007 WL

  853768 (W.D. Va. Mar. 16, 2007) (allowing amendment where the plaintiff knew she suffered

  from shoulder and neck pain at the time her administrative claim was filed but was not diagnosed

  with radiculopathy until afterward); Lopatina v. United States, C.A. No. 09-2852, 2011 U.S. Dist.

  LEXIS 143001, 2011 WL 6217036, at *4 (D. Md. Dec. 13, 2011) aff’d, 528 Fed. Appx. 352 (4th

  Cir. 2013) (plaintiff permitted to seek damages beyond administrative tort claim at trial where

  shoulder injury “evolved” into a neck problem requiring surgery).

         Because the bases for amendment here more closely track the facts at issue in those cases

  where amendment was permitted, i.e. complications of pre-existing conditions, subsequent

  diagnoses, a second surgery and atypical infection, and those bases are distinguishable from the



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  grounds at issue in Norrell, i.e. a “miscalculation” of the future medical bills, Plaintiff asks that

  she be allowed to amend her ad damnum.

                                                     /s/ Cameron C. Kuhlman
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